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                                                  May 23, 2025

   VIA ECF
   Judge Joan M. Azrack                           Magistrate Judge Anne Y. Shields
   100 Federal Plaza Central                      100 Federal Plaza
   Islip, NY 11722                                Central Islip, NY 11722



   Re:    SDN Limited et al. v. IOV Labs Limited et al., Case No. 2:24-cv-6089
          Dear Judge Azrack and Judge Shields:
           I represent Plaintiffs SDN Limited and Steven Nerayoff in the above-referenced
   case. I write pursuant to the Court’s May 14, 2025, order directing Plaintiffs to file a status
   report.

          Plaintiffs intend to amend the complaint to correct several factual inaccuracies.
   Upon conferral, the parties agreed that Plaintiffs will provide a copy of the proposed
   amended complaint, with any revisions in track changes, to Defendants on or before June
   20, 2025, for Defendants’ determination whether to stipulate to or oppose the proposed
   amendments.


   Respectfully submitted,


   Ievgeniia P. Vatrenko, Esq.


   cc: All counsel of record via CM-ECF
